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05/20/2016 09:07 AM CDT




                                                         - 606 -
                                            Nebraska A dvance Sheets
                                             293 Nebraska R eports
                                        SHURIGAR v. NEBRASKA STATE PATROL
                                                Cite as 293 Neb. 606



                                        Heath A. Shurigar, appellant, v.
                                        Nebraska State Patrol, appellee.
                                                    ___ N.W.2d ___

                                           Filed May 20, 2016.     No. S-15-396.

                1.	 Statutes: Appeal and Error. Statutory interpretation presents a question
                    of law, for which an appellate court has an obligation to reach an inde-
                    pendent conclusion irrespective of the decision made by the court below.
                2.	 Administrative Law: Judgments: Appeal and Error. A judgment or
                    final order rendered by a district court in a judicial review pursuant to
                    the Administrative Procedure Act may be reversed, vacated, or modified
                    by an appellate court for errors appearing on the record.
                3.	 ____: ____: ____. When reviewing an order of a district court under
                    the Administrative Procedure Act for errors appearing on the record, the
                    inquiry is whether the decision conforms to the law, is supported by com-
                    petent evidence, and is neither arbitrary, capricious, nor unreasonable.
                4.	 Judgments: Appeal and Error. Whether a decision conforms to law
                    is by definition a question of law, in connection with which an appel-
                    late court reaches a conclusion independent of that reached by the
                    lower court.
                5.	 Statutes. Absent a statutory indication to the contrary, words in a statute
                    will be given their ordinary meaning.
                6.	 Statutes: Legislature: Intent. When construing a statute, a court’s
                    objective is to determine and give effect to the legislative intent of
                    the enactment.

                 Appeal from the District Court for Lancaster County: Lori
               A. M aret, Judge. Affirmed.
                    Justin J. Cook, of Lincoln Law, L.L.C., for appellant.
                  Douglas J. Peterson, Attorney General, and James D. Smith
               for appellee.
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                  Nebraska A dvance Sheets
                   293 Nebraska R eports
               SHURIGAR v. NEBRASKA STATE PATROL
                       Cite as 293 Neb. 606
  Heavican, C.J., Wright, Connolly, Miller-Lerman, Cassel,
and K elch, JJ.
  K elch, J.
                      NATURE OF CASE
   This is an appeal, pursuant to the Administrative Procedure
Act, from the district court’s order affirming an order of the
Nebraska State Patrol (State Patrol), which denied Heath A.
Shurigar’s application for a permit to carry a concealed hand-
gun. The State Patrol denied Shurigar’s application because it
determined that a prior conviction in Oklahoma disqualified
Shurigar under Neb. Rev. Stat. § 69-2433(8) (Cum. Supp.
2014). That decision was affirmed following an administrative
hearing. Shurigar appealed to the district court, which also
affirmed. Now, Shurigar appeals to this court.
                            FACTS
   On April 18, 2013, Shurigar submitted a “Nebraska
Concealed Handgun Permit Application” to the State Patrol.
On the application, Shurigar acknowledged that he had been
convicted of violating a law relating to firearms in the past
10 years. In a handwritten attachment to the application,
Shurigar explained that 1 year prior to his application, he
had been found to be in possession of a loaded pistol in the
State of Oklahoma and later had pled guilty to the Oklahoma
crime of “Transporting Loaded Firearm in Motor Vehicle,
Misdemeanor.” Because of this prior conviction, the State
Patrol denied Shurigar’s application.
   After receiving notice that his application was denied,
Shurigar requested an administrative hearing before the State
Patrol. The request was granted. At the administrative hearing,
a court document from Oklahoma was received into evidence;
that document reflected that Shurigar had pled guilty to the
charge of transporting a loaded firearm in a motor vehicle.
Shurigar also testified and admitted to his conviction. A copy
of the Oklahoma criminal statute that Shurigar pled guilty of
violating was also admitted into evidence.
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                   Nebraska A dvance Sheets
                    293 Nebraska R eports
               SHURIGAR v. NEBRASKA STATE PATROL
                       Cite as 293 Neb. 606
   After the administrative hearing, the State Patrol again
denied Shurigar’s application for a concealed handgun permit,
reasoning that Shurigar’s conviction in Oklahoma disqualified
him from obtaining such permit pursuant to § 69-2433(8). That
statute provides, in relevant part:
   An applicant shall:
         ....
         (8) Not have had a conviction of any law of this
      state relating to firearms, unlawful use of a weapon, or
      controlled substances or of any similar laws of another
      jurisdiction within the ten years preceding the date of
      application. This subdivision does not apply to any con-
      viction under Chapter 37 or under any similar law of
      another jurisdiction, except for a conviction under section
      37–509, 37–513, or 37–522 or under any similar law of
      another jurisdiction.
   From the State Patrol’s order, Shurigar appealed to the dis-
trict court. Shurigar alleged that he was not disqualified from
obtaining the concealed handgun permit under § 69-2433(8),
because his conviction for transporting a loaded firearm in
a motor vehicle was not similar to Neb. Rev. Stat. § 37-522(Reissue 2008). Section 37-522 provides in part: “It shall be
unlawful to have or carry, except as permitted by law, any shot-
gun having shells in either the chamber, receiver, or magazine
in or on any vehicle on any highway.”
   The applicable portion of the Oklahoma statute which
Shurigar was convicted of violating, Okla. Stat. Ann. tit. 21,
§ 1289.13 (West 2015), provides: “[I]t shall be unlawful to
transport a loaded pistol, rifle or shotgun in a landborne motor
vehicle over a public highway or roadway.”
   The district court determined that Shurigar’s conviction
in Oklahoma for transporting a loaded firearm in a motor
vehicle was similar to § 37-522 and therefore affirmed the
State Patrol’s denial of Shurigar’s application. Shurigar
appeals.
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                   Nebraska A dvance Sheets
                    293 Nebraska R eports
               SHURIGAR v. NEBRASKA STATE PATROL
                       Cite as 293 Neb. 606
                 ASSIGNMENTS OF ERROR
   Shurigar assigns, restated, that the district court erred (1) in
deciding that the Oklahoma conviction was sufficiently similar
to a conviction under § 37-522 so as to disqualify him under
§ 69-2433(8) and (2) in failing to consider the legislative intent
and primary purpose of § 69-2433.
                  STANDARD OF REVIEW
   [1] Statutory interpretation presents a question of law, for
which an appellate court has an obligation to reach an indepen-
dent conclusion irrespective of the decision made by the court
below. Underwood v. Nebraska State Patrol, 287 Neb. 204, 842
N.W.2d 57 (2014).
   [2-4] A judgment or final order rendered by a district court in
a judicial review pursuant to the Administrative Procedure Act
may be reversed, vacated, or modified by an appellate court
for errors appearing on the record. Underwood, supra. When
reviewing an order of a district court under the Administrative
Procedure Act for errors appearing on the record, the inquiry
is whether the decision conforms to the law, is supported by
competent evidence, and is neither arbitrary, capricious, nor
unreasonable. Underwood, supra. Whether a decision conforms
to law is by definition a question of law, in connection with
which an appellate court reaches a conclusion independent of
that reached by the lower court. Id.
                           ANALYSIS
   The issue in this case is whether Okla. Stat. Ann. tit. 21,
§ 1289.13, is a law “similar” to § 37-522 within the meaning of
§ 69-2433. Shurigar argues it is not, and we disagree.
   [5,6] The phrase “similar laws” is not defined by
§ 69-2433(8). Absent a statutory indication to the contrary,
words in a statute will be given their ordinary meaning. State v.
Au, 285 Neb. 797, 829 N.W.2d 695 (2013); State v. Parks, 282
Neb. 454, 803 N.W.2d 761 (2011). When construing a statute,
a court’s objective is to determine and give effect to the legis-
lative intent of the enactment. State v. Mena-Rivera, 280 Neb.
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                    Nebraska A dvance Sheets
                     293 Nebraska R eports
               SHURIGAR v. NEBRASKA STATE PATROL
                       Cite as 293 Neb. 606
948, 791 N.W.2d 613 (2010). Turning to the plain and ordinary
meaning of the word “similar,” Merriam-Webster’s Collegiate
Dictionary 1090 (10th ed. 2001) defines the term as “having
characteristics in common.”
   Next, we must consider the similarities or “characteristics
in common” between the Oklahoma and Nebraska statutes at
issue. As noted, the applicable portion of § 37-522 states: “It
shall be unlawful to have or carry, except as permitted by law,
any shotgun having shells in either the chamber, receiver, or
magazine in or on any vehicle on any highway.” In comparison,
the applicable portion of Okla. Stat. Ann. tit. 21, § 1289.13,
states: “[I]t shall be unlawful to transport a loaded pistol, rifle
or shotgun in a landborne motor vehicle over a public highway
or roadway.” Both statutes prohibit the transportation of loaded
guns on a highway. The main difference is that Nebraska’s stat-
ute prohibits the transportation of a loaded shotgun, whereas,
Oklahoma’s statute prohibits the transportation of a loaded pis-
tol, rifle, or shotgun. We find that this constitutes “characteris-
tics in common” and that Okla. Stat. Ann. tit. 21, § 1289.13, is
a law “similar” to § 37-522 within the meaning of § 69-2433.
This assignment is without merit.
   Lastly, we must also address Shurigar’s claim that the district
court failed to consider the legislative intent and primary purpose
of § 69-2433. To the contrary, the district court stated that “[t]he
obvious purpose of § 69-2433 is to prevent people with a dem-
onstrated propensity to commit crimes, including crimes involv-
ing acts of violence, from carrying concealed weapons so as to
minimize the risk of future gun violence.” Citing Underwood,
287 Neb. at 211, 842 N.W.2d at 62. This court observed in
Underwood that in enacting the Concealed Handgun Permit Act,
the Legislature was “‘concerned with the future behavior of a
holder of a [gun] permit,’” and that the Legislature had deemed
certain past crimes to be indicative of future behavior and there-
fore precluded persons who had committed those crimes from
being eligible to obtain a concealed handgun permit. 287 Neb. at
211, 842 N.W.2d at 62.
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                  Nebraska A dvance Sheets
                   293 Nebraska R eports
              SHURIGAR v. NEBRASKA STATE PATROL
                      Cite as 293 Neb. 606
   Further, Shurigar argues that transporting a loaded pistol
on a highway “cannot possibly be construed as a ‘crime of
violence.’” Brief for appellant at 13. This argument assumes
that the Legislature, in enacting the Concealed Handgun
Permit Act, is concerned solely with crimes of violence.
However, § 69-2433 disqualifies persons from obtaining a
concealed handgun permit, not only if they “have been con-
victed of a misdemeanor crime of violence” under subsec-
tion (5), but also if they have been convicted of certain laws
“relating to firearms [or] unlawful use of a weapon” under
subsection (8).
   The Legislature clearly deems a person to be a risk if they
have violated § 37-522, which makes it unlawful to transport
a loaded shotgun on a highway in Nebraska. We see no rea-
son why a person violating another jurisdiction’s law against
transporting a loaded pistol on a highway would be any less
of a risk of committing future crimes than a person transport-
ing a loaded shotgun. To the contrary, a violation of such a
law shows the person’s unwillingness to conform to the law.
Accordingly, the district court properly considered the legisla-
tive intent and primary purpose of § 69-2433.
                          CONCLUSION
   The district court did not err in deciding that the Oklahoma
conviction was sufficient grounds to deny the application
under § 69-2433(8) based upon a firearm conviction of “simi-
lar laws” of another jurisdiction. The decision of the district
court affirming the State Patrol’s order denying Shurigar’s
application for a permit to carry a concealed handgun is hereby
affirmed.
                                                      A ffirmed.
   Stacy, J., not participating.
